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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK
SHIVANNE CORTES-GOOLCHARRAN,
                                                          Civil Action No.:
                       Plaintiff,
                                                          COMPLAINT
               v.

ROSICKI, ROSICKI & ASSOCIATES, P.C., and                  JURY TRIAL DEMANDED
FAY SERVICING, LLC,

                       Defendants.


                                    PRELIMINARY STATEMENT

       1.     Plaintiff Shivanne Cortes-Goolcharran (“Ms. Cortes-Goolcharran” or “Plaintiff”)

seeks redress for the harm caused to her when defendants Rosicki, Rosicki & Associates, P.C.

(“Rosicki”), and Fay Servicing, LLC (“Fay”) (collectively, “Defendants”) threatened to sue her

in foreclosure on a purported mortgage debt that is time-barred.

       2.     The mortgage debt is time-barred because the lender called the entire debt due and

payable in May 2008, by way of a complaint in a foreclosure action that was discontinued in

2013. The six-year statute of limitations applicable in New York to an action on a mortgage

expired in May 2014.

       3.     By virtue of their threats to commence a foreclosure action against Ms. Cortes-

Goolcharran if she does not pay wholly time-barred debt, Rosicki and Fay have used false and

misleading representations in connection with the collection of a debt; have misrepresented the

character, amount, or legal status of the asserted debt; and have threatened to take an action that

cannot legally be taken or that was not intended to be taken, all in violation of the federal Fair

Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (the “FDCPA”).
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                                         JURISDICTION

       4.     This Court has federal question jurisdiction over Plaintiff’s claim pursuant to 28

U.S.C. § 1331.

                                              VENUE

       5.     Venue is proper in the Eastern District of New York pursuant to 28 U.S.C.

§ 1391(b) in that a significant portion of the events giving rise to the claim occurred in the

Eastern District of New York.


                                             PARTIES

       6.        Plaintiff Shivanne Cortes-Goolcharran is a 52-year-old homeowner who lives

with her adult son and daughter in her single-family home located at 101-43 133rd Street in

South Richmond Hill, Queens County, New York. At all relevant times she has been a citizen of

New York and a resident of this District. Ms. Cortes-Goolcharran is a “consumer” within the

meaning of 15 U.S.C. § 1692a(3), in that the debt Defendants have sought to collect from her is a

consumer debt.

       7.     Defendant Rosicki is a law firm with offices at 51 East Bethpage Road in

Plainview, New York. On information and belief, Rosicki’s primary business is the prosecution

of foreclosure actions in New York. Rosicki is a “debt collector” within the meaning of 15

U.S.C. § 1692a(6).

       8.     Rosicki appeared as counsel for the plaintiff in a foreclosure action in Queens

County Supreme Court against Ms. Cortes-Goolcharran, captioned HSBC Mortgage Corporation

(USA) v. Cortes-Goolcharran, Index No. 12760/2008. That action was discontinued by order

filed on or about May 1, 2013, upon Rosicki’s motion.




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       9.     Defendant Fay is a limited liability company headquartered, on information and

belief, at 901 South 2nd Street, Suite 201 in Springfield, Illinois. On information and belief,

Fay’s primary business is the servicing of mortgage loans. Fay is a “debt collector” within the

meaning of 15 U.S.C. § 1692a(6).

       10.    On information and belief, Fay became the servicer of Ms. Cortes-Goolcharran’s

loan account on or about October 1, 2016.


                                   STATEMENT OF FACTS

       11.    On or about July 11, 2007, Ms. Cortes-Goolcharran purchased the home at 101-43

133rd Street in South Richmond Hill, New York. The purchase was financed by a loan from

HSBC Mortgage Corporation (“HSBC”), memorialized by a note signed by Ms. Cortes-

Goolcharran (the “subject note”). The loan was secured by a mortgage dated July 11, 2007 (the

“subject mortgage”), signed by Ms. Cortes-Goolcharran to the benefit of Mortgage Electronic

Registration Systems, Inc. as nominee for HSBC (“MERS as Nominee”). On information and

belief, the subject mortgage was recorded in the Office of the City Register on or about August

16, 2007.

       12.    On information and belief, on or about May 21, 2008, MERS as Nominee assigned

its interest in the subject mortgage to HSBC by way of an Assignment of Mortgage that was

recorded in the Office of the City Register on or about June 5, 2008.

       13.    On or about May 21, 2008, HSBC commenced a foreclosure action against

Ms. Cortes-Goolcharran by filing a summons and complaint in the Supreme Court of New York,

Queens County. The index number assigned to the foreclosure action was 12760/2008.

       14.    In its complaint, HSBC expressly declared its election to accelerate and call due

the full amount owed under the subject note and subject mortgage. In accelerating the mortgage,



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HSBC caused the six-year limitations period on the entire mortgage debt to begin running.

       15.    A judgment of foreclosure and sale was entered on or about June 19, 2009.

       16.    On or about March 13, 2013, HSBC moved in Queens County Supreme Court to

vacate the judgment, cancel the notice of pendency, discharge the referee, and discontinue the

action “for administrative reasons.” The court granted the motion by short-form order signed on

or about April 24, 2013, and filed on or about May 1, 2013.

       17.    On information and belief, no act purporting to revoke the acceleration of the

subject mortgage has occurred.

       18.    After the foreclosure action was terminated, Ms. Cortes-Goolcharran continued to

receive monthly mortgage statements stating that her loan has been referred for foreclosure, or

that her loan has been accelerated, or both. However, no new foreclosure action was

commenced.

       19.    On information and belief, Fay became the servicer of the subject note and subject

mortgage on or about October 1, 2016. On information and belief, Fay services the loan on

behalf of the current purported owner of the loan, PROF-2014-S2 Legal Title Trust II, by U.S.

Bank National Association as Legal Title Trustee.

       20.    On or about November 29, 2016, Ms. Cortes-Goolcharran commenced a quiet-title

action in Queens County Supreme Court against HSBC; HSBC Bank USA, N.A.; Federal

National Mortgage Association; and PROF-2014-S2 Legal Title Trust II, by U.S. Bank National

Association as Legal Title Trustee, seeking an order cancelling and discharging the mortgage as

time-barred pursuant to New York Real Property Actions and Proceedings Law Section 1501(4),

which contemplates cancellation and discharge of a mortgage when a foreclosure action on such




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mortgage is time-barred. Issue in the action, captioned Cortes-Goolcharran v. HSBC Mortgage

Corporation (USA) et al., Index No. 13649/2016, has been joined.

       21.    In or around April 2017, nearly nine years after HSBC accelerated the subject

mortgage by filing a foreclosure complaint against Ms. Cortes-Goolcharran, Rosicki sent a letter

to Ms. Cortes-Goolcharran by both regular and certified mail. The letter, dated April 14, 2017,

and entitled “Notice of Default,” states inter alia that “the total amount of the Debt is

$620,723.96,” an amount purportedly comprising “the remaining principal balance as of

07/01/2011,” unpaid accrued interest, escrow credits, late charges, and property inspection fees.

This letter identifies HSBC as the “originating creditor of your loan,” and identifies Fay as the

“Servicer.”

       22.    Near the top of the April 14, 2017 letter, just below Rosicki’s letterhead, are

printed the words “WE ARE A DEBT COLLECTOR AND ARE ATTEMPTING TO

COLLECT A DEBT.”

       23.    The April 14, 2017 letter further states that as of that date, $229,220.38 was in

arrears and that payment of that amount is due on or before May 15, 2017. It then warns:

       Failure to correct the default by May 15, 2011 [sic] may result in acceleration of
       your loan. Upon acceleration, the total amount of the debt will be immediately
       due and payable without further demand and a lawsuit to foreclose the mortgage
       may be commenced.

(Emphasis added.) The letter urges Ms. Cortes-Goolcharran to “call Fay Servicing, immediately

to discuss possible alternatives to foreclosure” in the event that she is unable to pay the

$229,220.38 purportedly required to bring the account current. A true and correct copy of the

April 14, 2017 letter, redacted to protect sensitive information, is appended hereto as Exhibit A.

       24.    Also in or around April 2017, Ms. Cortes-Goolcharran received an unsigned notice

by both regular and certified mail dated April 15, 2017. On information and belief, this notice



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purports to be a pre-foreclosure notice, commonly known as a “90-day notice,” required under

New York Real Property Actions and Proceeding Law Section 1304 to be sent to a mortgagor in

default at least ninety days before a foreclosure is commenced.

       25.    Printed at the bottom of the first page of the purported 90-day notice are the words

“Fay Servicing” and a loan number. Printed prominently near the top of the letter in all capital

letters are the words “YOU COULD LOSE YOUR HOME. PLEASE READ THE

FOLLOWING NOTICE CAREFULLY.” The notice continues:

       As of April 15, 2017, your home loan is 2,116 days in default. Under New York
       State Law, we are required to send you this notice to inform you that you are at
       risk of losing your home. You can cure this default by making the payment of
       $229,220.38 by May 1, 2017. . . . If this matter is not resolved within 90 days
       from the date this notice was mailed, we may commence legal action against
       you (or sooner if you cease to live in the dwelling as your primary residence.)

(Emphasis added.) A true and correct copy of the purported 90-day notice, redacted to

protect sensitive information, is appended hereto as Exhibit B.

       26.    The 90-day notice from Fay represents that the date of default was July 1, 2011:

July 1, 2011, is the date 2,116 days before April 15, 2017. The letter from Rosicki similarly

represents that the current debt includes “the remaining principal balance as of 07/01/2011.”

However, the default long predates July 1, 2011; the default that gave rise to the foreclosure

action filed in May 2008 was never cured.

       27.    In incorrectly representing the date of default as July 1, 2011, Rosicki and Fay, on

information and belief, attempted to exclude from their demands certain amounts that may have

accrued more than six years ago, in an apparent effort to avoid demanding payment of time-

barred amounts. But the acceleration of the mortgage by way of the commencement of the

foreclosure action in May 2008 started the limitations period running as to the entire mortgage

debt—not just periodic payments more than six years overdue. The entire mortgage debt became



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time-barred in May 2014, six years after acceleration. Defendants, accordingly, have made false

and misleading representations in their threats to bring a lawsuit against Ms. Cortes-Goolcharran

based on wholly time-barred debt.


                                   FIRST CAUSE OF ACTION
                        FAIR DEBT COLLECTION PRACTICES ACT

        28.    Plaintiff realleges and incorporates all the foregoing facts and allegations as if fully

set forth herein.

        29.    Congress enacted the Fair Debt Collection Practices Act (the “FDCPA”), 15

U.S.C. § 1692 et seq., in 1977, “to eliminate abusive debt collection practices by debt collectors,

[and] to insure that those debt collectors who refrain from using abusive debt collection practices

are not competitively disadvantaged . . . .” 15 U.S.C. § 1692(e).

        30.    Defendant Rosicki is a “debt collector” as that term is defined in 15 U.S.C.

§ 1692a(6), because:

                a)     it is a person who regularly uses instrumentalities of interstate commerce
                       and the mails in a business the principal purpose of which is the collection
                       of debts, and regularly collects or attempts to collect, directly or indirectly,
                       debts owed or due or asserted to be owed or due another; and

                b)     It acquired Plaintiff’s account when the account was already in default.

        31.    Defendant Fay is a “debt collector” as that term is defined in 15 U.S.C. § 1692a(6),

because:

                a)     it is a person who regularly uses instrumentalities of interstate commerce
                       and the mails in a business the principal purpose of which is the collection
                       of debts, and regularly collects or attempts to collect, directly or indirectly,
                       debts owed or due or asserted to be owed or due another; and

                b)     It acquired Plaintiff’s account when the account was already in default.

        32.    Collection letters such as those sent by Defendants are to be evaluated under the

objective standard of the hypothetical “unsophisticated consumer.”


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       33.     Defendants Rosicki and Fay violated the following provisions of the FDCPA:

                a)      15 U.S.C. § 1692e, by using false and deceptive representations in
                        connection with the collection of the debt claimed to be owed by Plaintiff;

                b)      15 U.S.C. § 1692e(2), by misrepresenting the character, amount, or legal
                        status of the asserted debt; and

                c)      15 U.S.C. § 1692e(5), by threatening to take an action that cannot legally
                        be taken or that is not intended to be taken.

       34.     As a result of Defendants Rosicki’s and Fay’s threats to sue to take her home,

Plaintiff has suffered and continues to suffer severe emotional distress and anxiety.

       35.     Defendants Rosicki and Fay are therefore liable to Plaintiff for actual and statutory

damages pursuant to 15 U.S.C. § 1692k, as well as reasonable attorneys’ fees and costs.


                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff Shivanne Cortes-Goolcharran respectfully requests that this Court:

             1. Award actual damages in an amount to be determined at trial;

             2. Award statutory damages as set forth above;

             3. Award reasonable attorney’s fees, costs and disbursements; and

             4. Award such other and further relief as this Court deems just and proper.


DATED:          Jamaica, New York
                July 5, 2017


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                      EXHIBIT A
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